                  Case 1:09-cr-00073-JRH-BKE Document 452 Filed 04/13/15 Page 1 of 1
A0 247(10,/ll) OrderResardins
                            Voljon for Sentence       Punuanlto l8 U S.C.{ 3582(c)(2)
                                              Reduclion                                                                  PageI Df2 Cage2 Nor for PublicDsclosLlre)


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                                                        UNITED STATESDISTR]CTCOURT                             U.S.OISTRICT
                                                                                                                         COURT
                                                                   for the                                       AU0UST  BlV.
                                                             Southem District of Georgia
                                                                   AugustaDivision
                     United Statesof America
                                    V,
                                                                                 C a s e N o :C R 1 0 9 - 0 0 0 7 3 - 0 0 1
               Reginald Darrell Beale, aka "Rug"
                                                                                 USMNo:14191-021
Date of Original Judgment:                     Ausust10.2010                     JacoueD. Hawk
DateofPrevious     Judgment;
             Amended      December18.2013                                        Defendanr's
                                                                                           Arromey
(Use Date afLast Amended hdgnent    iJ Anl/)


                      Order Regarding Motion for SentenceReduction Pursuant to l8 U.S.C' $ 3582(c)(2)

       Upon motionof lrhe defendantnthe Directorof the Bureauof Prisonsfflthe court under l8 U.S.C,
$ 3582(c)(2) for a reduction in the term of imprisonmentimposedbasedon a guideline sentencingrangethat has
subsequentlybeen lowered and made retroactiveby the United StatesSentencingCommissionpursuantto 28 U.S.C.
$ 994(u), and having consideredsuch motion, and taking into accountthe policy statementset forth at USSG $ 1B I .10 and
the sentencingfactorsset forth in 18 U,S.C.$ 3553(a),to the extentthat they are applicable,

IT lS ORDER-EDthat the motion is:
                                                                                          inthe iudsmenl
 ! OeUmn. E CnaNfEn und the defendant'spreviously imposedsentenceof imprisonmentks re.flected tast
              issuetof 262 months is reduced to                      21 1 months


                                               (CompleteP.lrts I and II of Page 2 when motion is grqnted)




Except as otherwiseprovided above,all provisionsofthe judgment dated                       August 10,2010.          shallremainin effect.
IT TSSO ORDERED.

OrderDate:              ,r'               .
                                )


                                                                                 J. RandalHall
Effecti ve Date: Igyg4lg1-l:pll_                                                 United StaIesDistrict Judse
                       (if dlJferent from order date)                                                  Printed natueanJ i e
